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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                      September 13, 2021

J. Christopher Klotz
510 E. Zaragoza St.
Pensacola, FL 32502
chris@stevensonklotz.com
Via e-mail and ECF

       Re:      United States v. Andrew William Griswold
                Case No. 21-cr-459 (CRC)

Dear Counsel:

        As part of our ongoing discovery production in this case, you will receive an invitation
via USAFx to download reports from U.S. Capitol Police (USCP) investigations of alleged
wrongdoing by USCP officers on January 6, 2021. Officer names, witness names, and
complainant names have been redacted. We are working to produce a set of reports that replaces
the redactions with unique identifiers for individuals whose names have been redacted. When
that process is complete, we will reproduce the documents with the unique
identifiers. Additional exhibits from these investigations are forthcoming. At this time, we
understand that a small number of investigations are still on-going, and we will provide reports
of those investigations on a rolling basis as they are concluded.

        Timing of Disclosures. I recognize the government’s discovery obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I will provide timely disclosure if
any such material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will
provide information about government witnesses prior to trial and in compliance with the court’s
trial management order.

         Reciprocal Discovery. I request reciprocal discovery to the fullest extent provided by
Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of any physical
or mental examinations, or scientific tests or experiments, and any expert witness summaries. I
also request that defendant(s) disclose prior statements of any witnesses defendant(s) intends to
call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S.
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255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendant(s) with materials relating to government witnesses.

        Notice of Defenses. Additionally, pursuant to Federal Rules of Criminal Procedure 12.1,
12.2, and 12.3, I request that defendant(s) provide the government with the appropriate written
notice if defendant(s) plans to use one of the defenses referenced in those rules. Please provide
any notice within the time period required by the Rules or allowed by the Court for the filing of
any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,

                                                    /s/ Alexis J. Loeb

                                                    Alexis J. Loeb
                                                    Assistant United States Attorney
                                                    Detailee




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